                 IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF TENNESSEE
                             AT KNOXVILLE



BOYD SMITH, NANCY SMITH,               )
JOEY SMITH, JEFFREY SMITH,
JILL SMITH, BESSIE HACKNEY,            )
WILLIAM GRAY, PEGGY GRAY,
and GREGORY HOUSTON, for               )
themselves and on behalf of all
others similarly situated,             )

           Plaintiffs                  )

                        v.             )                No. 3:04-cv-591

FIRST CENTURY BANK, CONNIE             )
DYER, SHERI LAWSON, KAREN
WILLIAMS, and DELORIS GRAVES,          )

           Defendants                  )

and                                    )

FIRST CENTURY BANK,                    )

           Counter-Plaintiff           )

                        v.             )

BOYD SMITH, et al.,                    )

           Counter-Defendants          )



                                   ORDER




Case 3:04-cv-00591-TAV-HBG     Document 43   Filed 07/06/05   Page 1 of 3   PageID
                                     #: 21
            For the reasons set forth in the Memorandum Opinion this day passed

to the Clerk for filing, it is hereby ORDERED that the motion to dismiss filed by

defendant Karen Williams [Doc. 16] be, and the same hereby is, GRANTED to the

extent that the following causes of action are DISMISSED WITH PREJUDICE:


                1.     Violation of the Racketeer Influenced and
            Corrupt Organizations Act (Civil RICO), 18 U.S.C. §§ 1961,
            et seq., (Count I);

               2.      Violation of the Federal Consumer Credit
            Protection Act, 15 U.S.C. § 1681s-2, (Count II); and

                 3.    Violation of federal statutes and regulations for
            protection of confidentiality of consumer information (Count
            III).


See Fed.R.Civ.P. 12(b)(6); and the following claims are DISMISSED WITHOUT

PREJUDICE:


               1.      Violation of the Tennessee Identity Theft
            Deterrence Act of 1999, T.C.A. §§ 47-18-2101, et seq.,
            (Count IV);

             2.      Violation of the Tennessee Consumer Protection
            Act (TCPA), T.C.A. §§ 47-18-101, et seq., (Count V);

               3.     Violation of the Tennessee Financial Records
            Privacy Act, T.C.A. §§ 45-10-101, et seq., (Count VI);

               4.      Breach of fiduciary duty (Count VII);

               5.      Conversion (Count VIII);

               6.      Negligence (Count IX); and

                                         2


Case 3:04-cv-00591-TAV-HBG     Document 43     Filed 07/06/05   Page 2 of 3   PageID
                                     #: 22
                   7.    Equitable relief (Count X).


The parties are hereby DIRECTED to amend the caption accordingly with respect

to all future filings.


                         ENTER:

                                                     s/ James H. Jarvis
                                               UNITED STATES DISTRICT JUDGE




                                           3


Case 3:04-cv-00591-TAV-HBG       Document 43     Filed 07/06/05   Page 3 of 3   PageID
                                       #: 23
